Case 6:18-CV-06509-C.]S Document 1 Filed 07/13/18 Page 1 of 4

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

JosEPH J. ARIENo,

painting NOTICE oF REMovAL
V.
Case No.

THE CouNTY oF MoNRoE and

THE MoNRoE COUNTY sHERlFF’s (MOnrO€ County Supreme Court

DEPARTMENT, Index NO. 132018000957)
Defendants.

 

PLEASE TAKE NOTICE that Defendants the County of Monroe and the Monroe
County Sherif`f"s Department [“County Def`endants”] remove this civil action to the United States
District Court for the Western District ofNeW York pursuant to 28 U.S.C. §1441 and §1446.

Grounds for Removal

l. Plaintiff commenced this civil action on April 16, 2018, against the County
Def`endants by filing the Summons and Verified Complaint in the Supreme Court of the State of`
New York f`or the County of Monroe, Index No. E2018000957.

2. County Defendants were served on June 15, 2018.

3. The County’s Answer was not filed in New York State Supreme Court.

4. The Complaint asserts claims under 42 U.S.C. §1983.

5. The above-entitled action is one that may be removed to this Court by the County
under 28 U.S.C. §1441.

Filing and Service of the Notice of Removal

6. The County is filing this Notice of` Removal Within 30 days after receipt of the
Verified Complaint, as required by 28 U.S.C. §l446(b).

7. Notice of` the filing of this Notice of` Removal Will be served upon Plaintiff` as
required by 28 U.S.C. §l446(d).

8. A true copy of this Notice of Removal will be filed With the Clerk of` the Supreme

 

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of the State ofNew York for the County of Monroe as required by 28 U.S.C. §l446(d).
Copies of` All Process, Pleadings and Orders Served Upon the Defendants
9. Copies of` the above-referenced papers, which are the only process, pleadings or
orders served upon or by the County, are attached.
MICHAEL E. DAVIS, MONROE COUNTY ATTORNEY
Atlorneyfor Monroe County

s/Aa’am MClark
July 11, 2018

 

Adam M. Clark, Esq. of Counsel

Deputy County Attomey

307 County Of`fice Building

39 West Main Street, Rochester, New York 14614
Telephone: 585.753.1374

adamclarl\'rf monroecouni\ cox

To: Monroe County Clerk
Clerk of the Supreme C ourt of the State of New York, Monroe County
101 County Of`fice Building
39 W. Main Street
Rochester, New York 14614

James P. Vacca, Esq.
Attorneyfor Plal'ntl'ff

One East Main Street, Suite 805
Rochester, New York 14614
Phone: (585)423-0110

Fax: (585)423-0111

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1544 (Re"~O"’/") CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court This form, approved by the ludicial Conference of the United States in September 1974_ is required for the use of the Clerk of Court for the
purpose Oflnlfiating the CiVll docket Sheet. (SEE INSYRl/CTI()NS UNNEXTPAGE OF THIS FURAI)

I- (a) PLAINTIFFS Joseph J. Arieno DEFENDANTS The County of Monroe and the Monroe County
Sheriff's Depaitment

(b) County of Residence of First Listed Plaintiff lVlOnl‘Oe County of Residence of First Listed Defendant l\/lOn|'Oe
(EX('EPT[N US. PLA[NT[I"F(`ASES) ([N US. PLA[NT[FF ('.4SES ONLU

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRAC`T OF LAND INVOLVED.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(C) Attomey$ (Firm Name, Addre.ss, and fe/Lphime Numbtr) James P' Vacca’ ESq-l Attomey$ ([/1\"0" ") Michae| E Davisl County Attomeyl Adam M Clerk
One East Main Street, Suite 805, Rochester, New York, 14614, Phone: Deputy County Attorney, 307 County Office Building, 39 West Main
585-423-0110 Street, Rochester, New York, 14614, Phone: 585-753-1374
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ij 190 Other Contract Product Liability CI 380 Other Personal CI 720 Labor/Managemerii Cl 863 DIWC/DIWW (405(g)) Exchange
13 195 Contract Product Liability 13 360 Other Personal Property Damage Relations Cl 864 SSID Tiile XVl Cl 890 Other Statutory Actions
l:l 196 Franchise Injury ij 385 Property Damage ij 740 Railway Labor Act [l 865 RSl (405(g)) g 891 Agricultural Acts
Cl 362 Personal Injury - Product Liability 13 751 Fami'ly and Medical lj 893 Environmental Maiters
Medical Malprafctice Leave Act l:l 895 Freedom of Inf`ormation
l REAL PROPERTY CIVIL RIGHTS PRlSONER PETITlON_S_ 13 790 Other Labor Litigation FEDFRA| TAX SU[TS Act
Cl 210 Land Condemnation K440 Other Civil Ri`ghts Haheas Corpus: 111 791 Employee Retirement Cl 870 Taxes (U.S. Plaintif`f |:l 896 Ai'bitration
ij 220 Foreclosure 111 441 Voting 13 463 Alien Detainee Income Security Act or Defendant) g 899 Administrative Procedure
Cl 230 Rem Lease & Ejectment ij 442 Employment ij 510 Motions to Vacate Cl 871 IRS_Third Party Act/Review or App\:al of
ij 240 Torrs to Land 13 443 Housirig/ Sentence 26 USC 7609 Agency Decision
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42 USC 1983

Brief` description of cause:
/;\||eged false arrest and malicious prosecution by law enforcement

VI. CAUSE OF ACTION

 

 

 

 

 

 

VII. REQUESTED IN 121 cHEci< ir THis is A CLAss ACTION DEMAND $ CHECK YES Only ifdemand€d in Complaint
COMPLAINT: UNDER RULE 23, FR»CV~P- JURY i)EMANi): a Yes ciNo

VIII. RELATED CASE(S)
lF ANY (See "mrmmm)" JUDGE DOCKET NUMBER

DATE SlGNATURE OF ATTORNEY OF RECORD

07/11/2018 s/Adam lvl Clark l

 

FOR OFFICE USE ONLY l
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

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JOSEPHJ. ARIENO v. THE COUNTY OF MUNROE,
and THE MONRUE CUUNTYSHERIFF’S
DEPARTMENT

Please list Adam M. Clark as the “lead attorney” and “notice attorney” for
Defendants County of Monroe and Monroe County Sheriff"s Department [“County
Defendants”].

Please do g list Michael E. Davis as either notice or lead attomey.
Thank you.
Adam M. Clark

Deputy County Attomey
Of Counsel to Michael E. Davis, Monroe County Attomey

 

